    1:18-cv-01128-JES-JEH # 19             Page 1 of 2                                        E-FILED
                                                             Monday, 10 September, 2018 02:07:37 PM
                                                                         Clerk, U.S. District Court, ILCD



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS
                                 PEORIA DIVISION

JOHN DOE                                             )
                                                     )
                       Plaintiff                     )     Case No. 1:18-cv-01128-JES-JEH
                                                     )
       vs.                                           )
                                                     )
ILLINOIS STATE UNIVERSITY, et. al.,                  )       Chief Judge James E. Shadid
                                                     )
                                                     )       Magistrate Jonathan E. Hawley
                       Defendants.                   )


                        NOTICE OF VOLUNTARY DISMISSAL
                         PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the plaintiff,

JOHN DOE and/or their counsel(s), hereby give notice that the above-captioned action is

voluntarily dismissed, without prejudice against all defendant(s).


Dated: September 10, 2018                    Respectfully submitted,

                                             JOHN DOE

                                      By      s/ Mark D. Johnson
                                              Mark D. Johnson


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                               CERTIFICATE OF SERVICE


I hereby certify that I electronically filed Plaintiff’s Notice of Voluntary Dismissal with the

Clerk of the Court using the CM/ECF system which, upon information and belief, will send

notice of such filing to the parties indicated below on this 10th day of September, 2018:



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                                                      s/ Mark D. Johnson
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